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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
                                 CAMDEN VICINAGE


CHARLENE CHELI, an Individual

                      Plaintiff,
                                                             Case No. 1:24-cv-08027
               vs.

YOGI NJ LLC, a New Jersey Limited Liability                      COMPLAINT
Company

                      Defendant.


                                         Introduction

       Plaintiff, CHARLENE CHELI, an individual, on her own behalf and on the behalf of all

other similarly situated mobility impaired persons hereby sues the Defendant, YOGI NJ LLC, a

New Jersey Limited Liability Company (“Defendant”) for injunctive relief, damages, attorney's

fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C.

§12181 et seq. ("ADA") and the New Jersey Law Against Discrimination, N.J.S.A. 10:5-1 et seq.

("LAD").


                                         The Parties

1.     Plaintiff, CHARLENE CHELI, is an individual over eighteen years of age and is otherwise


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sui juris.

2.        Defendant, YOGI NJ LLC, owns and/or operates a place of public accommodation, in this

instance a fast-food restaurant, alleged by the Plaintiff to be operating in violation of Title III of

the ADA and the LAD.

                                           Jurisdiction and Venue

3.        Defendant’s property is a fast-food restaurant – known as Dunkin’ Donuts – located at 10

Landis Ave, Upper Deerfield, NJ 08302 (the "Property" or “Dunkin’”).

4.        Venue is properly located in the District of New Jersey because venue lies in the judicial

district of the property situs. The Defendant’s property is located in and does business within this

judicial district.

5.        Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §1343, this Court has been given original

jurisdiction over actions which arise from the Defendant’s violations of Title III of the Americans

with Disabilities Act, 42 U.S.C. § 12181 et seq.1

6.        Jurisdiction over the state law claim vests with this Court pursuant to 28 U.S.C § 1367.

7.        The Defendant owns, leases, leases to, and/or operates a place of public accommodation as

defined by the ADA and the regulations implementing the ADA. The Defendant is thus required

to comply with the obligations of the ADA.2

8.        Plaintiff, CHARLENE CHELI, is an individual with disabilities – as defined by and

pursuant to the ADA.            Ms. Cheli has been diagnosed with facioscapulohumeral muscular

dystrophy and therefore has a physical impairment that substantially limits many of her major life




1
    See also 28 U.S.C. § 2201 and 28 U.S.C. § 2202
2
    28 CFR § 36.201(a) and 28 CFR § 36.104

                                                     2
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activities3 including, but not limited to, not being able to walk, stand, reach, or lift. Ms. Cheli

requires, at all times, the use of a wheelchair to ambulate.

                                            Factual Background

9.        Ms. Cheli is a staunch advocate of the ADA. Since becoming mobility impaired (and

having to fully rely on the use of her wheelchair to ambulate) she has dedicated her life to the

elimination of accessibility discrimination so that she, and others like her, may have full and equal

enjoyment of all public accommodations without fear of discrimination and repeated exposure to

architectural barriers.

10.       Ms. Cheli encounters architectural barriers at many of the places that she visits. Seemingly

trivial architectural features such as parking spaces, curb ramps, and door handles are taken for

granted by the non-disabled but, when improperly designed or implemented, can be arduous and

even dangerous to those in wheelchairs.

11.       The barriers to access that Ms. Cheli experiences at differing places of public

accommodation are often similar in nature. For example, she is repeatedly faced with sloping in

parking lots, improper curb ramps, abrupt changes of level within paths of travel, and non-

accessible restrooms. She has become frustrated and disheartened by the repetitiveness of the

complaints she has been forced to make to the employees and management at various

establishments in the past; most often to no avail. Thus, she now finds her redress through the

ADA; as Congress intended.

12.       Ms. Cheli has visited the Property on several occasions over the years, her last visit as a

patron of the occurred on or about July 12, 2024. Ms. Cheli visited the Property as a bone fide



3
    as defined by 28 CFR § 36.105(b)(1-2)

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patron with the intent to avail herself of the goods and services offered to the public within but

found that the Property was rife with violations of the ADA – both in architecture and in policy.

13.        Ms. Cheli shall return to the Property not only as a patron but also to monitor any progress

made with to respect to ADA compliance – she sincerely hopes that her return visits are not made

in vain.

14.        Ms. Cheli often shops in the surrounding areas of Bridgeton and Upper Deerfield, and

various other shopping centers situated near to Dunkin’. Further, Ms. Cheli has inspected and

patronized many places of public accommodation in the vicinity of the Property which is also

located on the route from Ms. Cheli’s home to all points West.4

15.        Ms. Cheli has accumulated friends and family across the mid-Atlantic region. Now that

she has retired, she has plenty of time to travel and regularly visit them across New Jersey, New

York, Pennsylvania, Delaware, and Maryland. This includes regularly travelling throughout

southern New Jersey and the Delaware Valley.

16.        Ms. Cheli has personally encountered exposure to architectural barriers and otherwise

harmful conditions that have endangered her safety at the Property.

17.        The ADA has been law for over thirty (30) years and the Property remains non-compliant.

Thus, the Ms. Cheli has actual notice and reasonable grounds to believe that she will continue to

be subjected to discrimination by the Defendant.

18.        Ms. Cheli has a realistic, credible, existing, and continuing threat of discrimination from

the Defendant’s non-compliance with the ADA with respect to the Property as described but not

necessarily limited to the barriers she has personally experienced which are listed in Paragraph 23



4
    Ms. Cheli resides in Cumberland County at 1380 Washington Avenue, Vineland, NJ 08361

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of this complaint.

19.      Following any resolution of this matter Plaintiff will ensure that the Defendant undertakes

the remedial work that is required to cure existing violations, under the appropriate standard and

in compliance with the ADA. Such a reinspection would be undertaken as set forth in any

settlement agreement that may occur or as ordered by this Court.

                                             COUNT I
                                   Violation of Title III of the
                     Americans with Disabilities Act, 42 U.S.C. § 12181, et seq.

20.      Plaintiff realleges and incorporates by reference all of the allegations contained in all of

the preceding paragraphs.

21.      The Defendant has discriminated against the Plaintiff, and other similarly situated mobility

impaired persons, by denying access to, and full and equal enjoyment of, the goods, services,

facilities, privileges, advantages and/or accommodations of the Property, as prohibited by the

ADA.

22.      A preliminary inspection of the Property has shown that violations of the ADA exist. That

inspection, performed by Plaintiff’s expert, further revealed that the remediation of all

violations/barriers listed in Paragraph 23 are both technically feasible and readily achievable.

23.      The following are architectural barriers and violations of the ADA that Ms. Cheli has

personally encountered during her visits to the Property:

Parking and Exterior Accessible Route

      a. The designated accessible parking spaces located at Dunkin’ are not maintained, lack

         proper access aisles, contain surface cracks, excessive sloping, faded striping, and abrupt

         changes of level; all in violation of the ADAAG and Sections 402 and 502 of the 2010


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     ADA Standards. These barriers have presented Ms. Cheli with a tipping hazard and could

     also cause damage to her wheelchair; to avoid these obstacles she has been forced to park

     away from the facility in a flat, maintained area, travel around obstacles, and then through

     the vehicular area of the parking lot in order to reach the facility.

  b. The accessible route which leads from the accessible parking area to the facility entrances

     lacks access aisles and is impeded by cross-sloping and abrupt changes of level; a violation

     of the ADAAG and Section 402 and 502 of the 2010 ADA Standards. These conditions

     have presented Ms. Cheli with a tipping hazard which could cause a fall and damage to her

     wheelchair.

  c. Dunkin’ lacks compliant accessible curb ramps; those present protrude the access aisle,

     contain excessive sloping, and contain abrupt changes of level; violations of the ADAAG

     and Section 402 and 406 of the 2010 ADA Standards. When attempting to travel from the

     parking area to the entrance Ms. Cheli has been impeded by these barriers which endanger

     her safety and could cause damage to her wheelchair.

  d. The exterior accessible route throughout the Property is impeded by excessive cross-

     sloping and abrupt changes in level; in violation of the ADAAG and Section 402 of the

     2010 ADA Standards. Ms. Cheli has been impeded by the excessive sloping and abrupt

     changes of level while traveling through the Property – these conditions present a tipping

     hazard and could damage her wheelchair.

  e. The Property fails to provide the requisite number of fully compliant accessible parking

     spaces and van-accessible parking spaces (as well as the requisite number of access aisles

     and van access aisles), a violation of Section 502 of the 2010 ADA Standards. Due to the

     lack of accessible parking, Ms. Cheli has been forced to park away from the facility as

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      detailed above so that she could freely access her vehicle.

   f. Dunkin’ fails to provide a continuous accessible route throughout the entirety of the

      facility; the existing route contains excessive cross-sloping and abrupt changes of level.

      These architectural barriers are violative of the ADAAG and Section 402 of the 2010 ADA

      Standards. Due to these barriers Ms. Cheli is unable to traverse from one section of the

      facility to another.

   g. The Property fails to provide a compliant route to the adjacent street, sidewalk, and/or the

      public transportation route. Ms. Cheli has been precluded from accessing the Property from

      these points of entry due to the lack of an accessible route; a discriminatory omission which

      limits her options for transportation and is a violation of ADAAG and Section 206.2.1 of

      the 2010 ADA Standards.

Access to Goods and Services

   h. Dunkin’ fails to provide accessible dining tables; in violation of the ADAAG and Section

      902 of the 2010 ADA Standards. Due to the lack of an accessible table Ms. Cheli has not

      been able dine in a comfortable manner.

   i. Ms. Cheli could not access the restaurant without assistance due to a lack of latch-side

      clearance, sloping at the base of the door, and abrupt changes of level at the threshold;

      violations of the ADAAG and Sections 402 and 404 of the 2010 ADA Standards.

Restrooms

   j. The restrooms within Dunkin’ are inaccessible to Ms. Cheli and contain architectural

      barriers to access including inaccessible water closets and a lack of wheelchair

      maneuvering space; violations of the ADAAG and Section 601 of the 2010 ADA

      Standards. These barriers (and others) have prevented Ms. Cheli from freely using the

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          restrooms.

      k. The restroom contains dispensers which are improperly mounted beyond Ms. Cheli’s reach

          in violation of the ADAAG and Section 308 of the 2010 Standards. Due to their improper

          locations Ms. Cheli could not make use of the dispensers in the restrooms.

      l. The restroom contains improper centerlines for the toilets and lacks the proper grab bars;

          in violation of the ADAAG and Section 604 of the 2010 ADA Standards. Due to these

          barriers Ms. Cheli could not freely make use of the restrooms.

      m. The restroom contains lavatories that lack the requisite knee and toe clearance; in violation

          of the ADAAG and Section 606 of the 2010 ADA Standards. Due to these barriers and the

          overall inaccessibility of the restrooms Ms. Cheli could not wash her hands nor make use

          of the sinks.



24.       Each of the foregoing violations is also a violation of the ADA Standards for Accessible

Design, originally published on July 26, 1991 and republished as Appendix D to 28 CFR part 36

("1991 Standards"); the "2004 ADAAG", which refers to ADA Chapter 1, ADA Chapter 2, and

Chapters 3 through 10 of the Americans with Disabilities Act and the Architectural Barriers Act

Accessibility Guidelines, which were issued by the Access Board on July 23, 2004 and codified at

36 CFR § 1191, appendix B and D (“ADAAG”); and the 2010 Standards for Accessible Design

("2010 ADA Standards"), as promulgated by the U.S. Department of Justice.5

25.       The discriminatory violations described in Paragraph 23 may not be an exhaustive list of

the ADA violations that exist at the Property, but they are the result of a preliminary inspection



5
    28 CFR § 36.104

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conducted by the Plaintiff (and her expert) and include all those personally experienced by Ms.

Cheli. Plaintiff requires thorough inspection of the Defendant’s place of public accommodation

in order to photograph and measure the architectural barriers which exist at the Property in

violation of the ADA/LAD.

26.        Plaintiff, and other mobility impaired persons, will continue to suffer discrimination, injury

and damage without the immediate relief provided for by the ADA and requested herein.

27.        Defendant has discriminated against Plaintiff, and other mobility impaired persons, by

denying access to full and equal enjoyment of the goods, services, facilities, privileges, advantages

and/or accommodations of its place of public accommodation or commercial facility in violation

of the ADA.

28.        Defendant continues to discriminate against Plaintiff, and other mobility impaired persons,

by failing to remove architectural barriers, and communication barriers that are structural in

nature.6

29.        Defendant continues to discriminate against Plaintiff, and other mobility impaired persons,

by failing to make reasonable modifications in policies, practices, or procedures, when such

modifications are necessary to afford all offered goods, services, facilities, privileges, advantages,

or accommodations to individuals with disabilities.7

30.        Defendant continues to discriminate against Plaintiff, and other mobility impaired persons,

by failing to take such efforts that may be necessary to ensure that no individual with a disability

is excluded, denied services, segregated, or otherwise treated differently than other individuals




6
    42 U.S.C. § 12181(b)(2)(A)(iv)
7
    42 U.S.C. § 12181(b)(2)(A)(ii)

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because of the absence of auxiliary aids and services.8

31.        If the Defendant’s facility is one which was designed and constructed for first occupancy

subsequent to January 26, 19939 then the Defendant’s facility must be readily accessible to and

useable by individuals with disabilities in accordance with the 1991 Standards.

32.        Pursuant to 28 CFR § 36.402(a)(1) "any alteration" made to the Property after January 26,

1992, must have been made so as to ensure that, to the maximum extent feasible, the altered

portions of the Property are readily accessible to and usable by individuals with disabilities,

including individuals, like Ms. Cheli, who use wheelchairs. An alteration is deemed to be

undertaken after January 26, 1992, if the physical alteration of the property begins after that date.10

Discovery in this matter will reveal if and when such alterations have taken place at the Property,

and to what corresponding technical and scoping specification the Defendant must meet/exceed to

bring the Property into compliance with the ADA.

33.        Pursuant to 28 CFR § 36.304(a) the Defendant shall remove all existing architectural

barriers, including communication barriers that are structural in nature, where such removal is

readily achievable.

34.        28 C.F.R. § 36.304(d)(2)(i) controls with respect to the corresponding technical and

scoping specification to which each element – that has not been altered – must comply with or be

modified to meet. Those are defined as follows:

      a. Elements that have not been altered since on or after March 15, 2012, must comply with

           the 1991 Standards.


8
    42 U.S.C. § 12181(b)(2)(A)(iii)
9
    as defined by 28 CFR § 36.401(a)(2)
10
     28 CFR § 36.402(a)(2)

                                                  10
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      b. Elements that have existed prior to and have not been altered since on or after March 15,

          2012, that do not comply with the 1991 Standards must be modified to comply with either

          the 1991 Standards or the 2010 Standards.

      c. Elements that have been altered on or after March 15, 2012, that do not comply with the

          1991 Standards must be modified to comply with the 2010 Standards.

35.       Plaintiff is not required to notify the Defendant of its violation of the ADA nor their

ongoing discrimination prior to the filing of this action. To that end, Plaintiff has found that voicing

concerns to employees and management, making phone calls, and writing letters is futile. In her

experience the only way to spur action and achieve the accessibility required under the law is to

file matters, like this one, and pray for the relief contained herein.

36.       Plaintiff is without adequate remedy at law and is suffering irreparable harm, including

bodily injury consisting of emotional distress, mental anguish, suffering, and humiliation.

Considering the balance of hardships between the Plaintiff and the Defendant, a remedy in equity

is warranted. The public interest would not be disserved by the issuance of a permanent injunction.

37.       Pursuant to 42 U.S.C. § 12205 and 28 CFR § 36.505, Plaintiff are entitled to recovery of

attorney's fees, costs, and litigation expenses from the Defendant.

38.       Pursuant to 42 U.S.C. § 12188(a)(2), this Court is provided with authority to grant Plaintiff

injunctive relief, including an order to require the Defendant to alter the Property and make such

readily accessible and useable to the Plaintiff and all other persons with disabilities as defined by

the ADA; or by closing the Property until such time as the Defendant cures all violations of the

ADA.11



11
     42 U.S.C. § 12188(b)(2)

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WHEREFORE, Plaintiff respectfully demands;

      a. The Court issue a Declaratory Judgment determining that the Defendant is in violation of

         Title III of the ADA.

      b. Injunctive relief against the Defendant including an order to (1) cure all ADA violations

         existing at the Property listed herein and those later found through discovery within the

         next six months; (2) to make the Property accessible to and usable by individuals with

         disabilities; and (3) to require the Defendant to make reasonable modifications in policies,

         practices or procedures, to ensure that no individual with a disability is excluded, denied

         services, segregated or otherwise treated differently than other individuals because of the

         absence of auxiliary aids and services.

      c. An Order requiring the Defendant to cease its discriminatory practices and to maintain the

         requisite accessible features at the Property – as required by the ADA.

      d. An award of attorney’s fees, costs, and litigation expenses (including expert fees and costs)

         pursuant to 42 U.S.C. § 12205.

      e. Such other relief as the Court deems just and proper and is allowable under Title III of the

         ADA.


                                              COUNT II
                                  Violation of New Jersey Law
                          Against Discrimination, N.J.S.A. 10:5-1 et seq.
39.      Plaintiff realleges and incorporates, by reference, all of the allegations contained in all of

the preceding paragraphs.

40.      The Property is a place of public accommodation as defined by N.J.S.A 10:5-5.

41.      New Jersey law provides that all persons shall have the opportunity to obtain all the


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accommodations, advantages, facilities, and privileges of any public place of accommodation

without discrimination on the basis of disability. This opportunity is recognized and declared to

be a civil right.12

42.       As set forth above, the Defendant has violated the LAD by denying Ms. Cheli, and all other

mobility impaired persons, the full and equal enjoyment of the goods, facilities, services, and

accommodations available at the Property.

43.       As a result of the aforementioned discrimination through repeated exposure to architectural

barriers and other harmful conditions, Ms. Cheli has sustained bodily injury in the form of

emotional distress, mental anguish, dignitary harm, and humiliation, in violation of the LAD.

WHEREFORE, Plaintiff respectfully demands;

      a. That this Court assume jurisdiction.

      b. The Court issue a Declaratory Judgment determining that the Defendant is in violation of

          the LAD.

      c. An injunction ordering Defendant to immediately comply with the LAD by removing all

          architectural barriers listed herein or later found through discovery.

      d. A monetary award consisting of the individual Plaintiff’s damages – to the maximum

          extent permitted, attorney's fees, and litigation expenses; including expert’s fees and costs.

      e. An order requiring the Defendant to cease its discriminatory practices and to maintain the

          requisite accessible features at the Property – as required by the LAD.

      f. Other relief that this Court deems just and proper and is allowable under the LAD.




12
     Pursuant to N.J.S.A 10:5-4

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Respectfully submitted on this 25th day of July 2024,

                                                    /s/ Jon G. Shadinger Jr.
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